             Case 2:19-cv-01613-JAD-VCF Document 3 Filed 09/13/19 Page 1 of 2



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 5
   Attorneys for Plaintiff NICK FISHER
 6 and the Class

 7                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 8

 9 NICK FISHER, individually and on behalf of

10 all others similarly situated,                            Case No.

                   Plaintiff,                                CERTIFICATE OF INTERESTED
11 v.                                                        PERSONS
12 THEVEGASPACKAGE.COM, INC., a

13 Nevada   corporation, and DOUGLAS
   DOUGLAS, an individual,
14                 Defendant.
15
            In accordance with Rule 7.1(a) of the Federal Rules of Civil Procedure, Plaintiff Nick
16
     Fisher certifies that he is a natural person. Thus, the disclosure requirements under the Rule are
17
     not applicable.
18
            Moreover, pursuant to Civil L.R. 7.1-1, the undersigned, counsel of record for Plaintiff
19
     Nick Fisher, certifies that the following have an interest in the outcome of this case:
20
            Cook & Kelesis, Ltd. (counsel for Plaintiff and the Class)
21
            Woodrow & Peluso, LLC (counsel for Plaintiff and the Class).
22
            These representations are made to enable judges of the Court to evaluate possible
23
     disqualifications or recusal.
24

25
                               *                         *                    *
26
27

28    CERTIFICATE OF INTERESTED PERSONS              1
           Case 2:19-cv-01613-JAD-VCF Document 3 Filed 09/13/19 Page 2 of 2




 1 Dated: September 12, 2019             Respectfully submitted,
 2
                                         NICK FISHER, individually and on behalf of all
 3
                                         others similarly situated,
 4

 5
                                         By:   /s/ Marc P. Cook
 6
                                         Marc P. Cook, Esq.
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13                                       Woodrow & Peluso, LLC
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14                                       Denver, Colorado 80210
                                         Telephone: (720) 907-4654
15                                       Facsimile: (303) 927-0809
16                                       Counsel for Plaintiff and the Putative Class
17
                                         *pro hac vice admission to be filed
18
19

20

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28   CERTIFICATE OF INTERESTED PERSONS    2
